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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                    CASE NO. 0:23-cv-60050-RS

 CHRISTOPHER OBASI, individually and
 on behalf of all others similarly situated,

        Plaintiff,

 v.

 BEDABOX LLC, a Florida Limited Liability
 Company,

        Defendant.
                                                /

           DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

        Defendant, BedaBox LLC d/b/a ShipMonk (“Defendant” or “ShipMonk”), by and through

 its undersigned counsel and pursuant to Federal Rules of Civil Procedure 8(a)(2) and 12(b)(6),

 moves to dismiss the Complaint [ECF No. 1] filed by Plaintiff, Christopher Obasi. In the

 alternative, Defendant moves for a more definite statement pursuant to Rule 12(e) of the Federal

 Rules of Civil Procedure. In support of this Motion, Defendant states as follows:

                                 PRELIMINARY STATEMENT

        The bare-bones Complaint filed by Plaintiff does not meet federal pleading standards as it

 fails to allege sufficient factual allegations regarding the grounds upon which Plaintiff’s alleged

 Fair Labor Standards Act (“FLSA”) claim rests. Specifically, Plaintiff merely alleges conclusory,

 legal recitations pertaining to Defendant’s alleged violation of the overtime provisions of the FLSA

 without alleging any sufficient facts demonstrating that Plaintiff can state a claim upon which relief

 can be granted. Indeed, other than identifying Plaintiff’s alleged job position and date of hire,

 Plaintiff’s Complaint simply concludes that Defendant violated the FLSA, while using various
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 FLSA-related catchphrases and legal terms of art, before merely setting forth the relief Plaintiff

 seeks.

          Although Plaintiff’s claim against Defendant is clearly one to recover alleged overtime

 compensation under the FLSA, Defendant is left to speculate as to the specific factual allegations

 Plaintiff will assert in an attempt to support a claim upon which relief can be granted (e.g., the

 hour(s) of overtime Plaintiff claims he worked without receiving overtime compensation, the

 week(s) associated with such alleged hour(s) of overtime worked, etc.). Federal Rules of Civil

 Procedure 8(a)(2) and 12(b)(6), as well as case precedent, do not require Defendant to engage in

 such speculation. Instead, it is Plaintiff’s obligation to properly plead his claim in accordance with

 federal pleading standards (i.e., by providing sufficient factual allegations in support of Plaintiff’s

 alleged claim showing a plausible basis for Plaintiff’s alleged entitlement to relief) so that

 Defendant is provided notice of the factual allegations pertaining to the claim asserted and can

 respond to the Complaint accordingly. Plaintiff fails to meet this burden. Because Plaintiff’s

 Complaint fails to meet federal pleading standards and sufficiently allege a claim upon which relief

 can be granted, this Court should dismiss the Complaint in its entirety.

          Alternatively, Plaintiff should be required to amend the Complaint to provide a more

 definite statement of his claim with sufficient specificity such that Defendant can adequately and

 properly prepare a substantive response to the cause of action.

                                    MEMORANDUM OF LAW

 I.       FEDERAL PLEADING STANDARDS REQUIRE A COMPLAINT TO GIVE FAIR
          NOTICE OF THE CLAIM ASSERTED AND THE GROUNDS UPON WHICH IT
          IS BASED.

          “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556




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 U.S. 662, 678 (2009) (emphasis added) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

 (2007)). In this regard, a complaint must contain “more than labels and conclusions, and a

 formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555.

 Indeed, “only a complaint that states a plausible claim for relief survives a motion to

 dismiss.” Iqbal, 556 U.S. at 679 (citing Twombly, 550 U.S. at 556). To meet the “plausibility

 standard,” a plaintiff must “plead[] factual content that allows the court to draw the reasonable

 inference that the defendant is liable for the misconduct alleged.” Id. at 678 (emphasis added)

 (citing Twombly, 550 U.S. at 556). “The mere possibility the defendant acted unlawfully is

 insufficient to survive a motion to dismiss.” Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1261

 (11th Cir. 2009) (citing Iqbal, 556 U.S. at 678). Here, Plaintiff’s Complaint fails to comply with

 federal pleading standards because it does not contain sufficient factual matter, accepted as true,

 to state a claim to relief under the FLSA’s overtime provisions that is plausible on its face.

 II.    PLAINTIFF’S COMPLAINT FAILS TO PLEAD ANY FACTUAL ALLEGATIONS
        SUFFICIENT TO STATE AN FLSA OVERTIME CLAIM UPON WHICH RELIEF
        CAN BE GRANTED.

        As indicated above, beyond simply alleging conclusions of law and legal recitations,

 Plaintiff’s bare-bones Complaint fails to allege any specific facts sufficient to state an FLSA

 overtime claim upon which relief can be granted. [See ECF No. 1]. Indeed, the only facts Plaintiff

 alleges with any sort of specificity is his job position and the date on which his employment with

 Defendant began. [See id. at ¶ 3].

        Noticeably absent from the Complaint is any heading pertaining to the “facts” or “factual

 background” upon which Plaintiff’s alleged FLSA overtime claim is based. [See id.]. Moreover,

 and worse still, Plaintiff fails to plead any sufficient factual allegations demonstrating his ability

 to state an FLSA overtime claim, such as, for example, the unpaid hours of overtime Plaintiff




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 claims he worked and the week(s) during which he claimed he worked unpaid overtime hours.

 [See id.]. Federal pleading standards do not require Defendant to speculate as to the specific factual

 allegations upon which Plaintiff will rely in an effort to state a claim. Ashcroft, 556 U.S. at 678

 (expressing that a complaint is due to be dismissed where it fails to allege “sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’”) (quoting Twombly, 550

 U.S. at 570); see also Pardue v. Specialty Eng’g Consultants, Inc., 85 F. Supp. 3d 1347, 1349-50

 (S.D. Fla. 2015) (granting motion to dismiss FLSA overtime claim for failure to state a claim

 because the plaintiff failed to include any specific factual allegations pertaining to his conclusory

 allegations that he was engaged in commerce or the defendant was an enterprise engaged in

 commerce; explaining that, “[s]imply put, Plaintiff must provide the factual underpinnings for the

 legal conclusions in the Complaint.”).

         Instead, Plaintiff must properly plead his claim by providing sufficient factual allegations

 to state his alleged FLSA overtime claim with a plausible basis upon which relief can be granted.

 Iqbal at 678 (explaining that the “plausibility standard” requires a plaintiff to “plead[] factual

 content that allows the court to draw the reasonable inference that the defendant is liable for the

 misconduct alleged.”) (citing Twombly, 550 U.S. at 556). Only when Defendant has been provided

 fair notice of the factual allegations supporting Plaintiff’s FLSA overtime claim should it be

 required to substantively respond to Plaintiff’s Complaint. Because Plaintiff fails to meet his

 burden of complying with federal pleading standards by alleging facts sufficient to state a claim

 upon which relief can be granted, this Court should dismiss the Complaint in its entirety.

 III.    ALTERNTATIVELY PLAINTIFF MUST PROVIDE A MORE DEFINITE
         STATEMENT OF HIS ALLEGED FLSA OVERTIME CLAIM.

         Alternatively, should the Court not be inclined to dismiss Plaintiff’s Complaint for failure

 to state a claim upon which relief can be granted, Defendant requests that Plaintiff be ordered to



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 provide a more definite statement of his claim pursuant to Rule 12(e) of the Federal Rules of Civil

 Procedure. Rule 12(e) provides that a defendant may move for a more definite statement if a

 pleading is “so vague or ambiguous that the party cannot reasonably prepare a response.” Fed. R.

 Civ. P. 12(e). “The motion must … point out the defects complained of and the details desired.”

 Id. As set forth above, Plaintiff’s Complaint is vague and ambiguous because it fails to allege any

 specific facts sufficient to state an FLSA overtime claim. See supra Point II. The pleading is

 deficient and does not allow Defendant to sufficiently assess or respond to the purported claim and

 the factual allegations in support thereof.

        Given the absence of facts supporting the claims in Plaintiff’s Complaint, Defendant

 requires more information to prepare a substantive response. See, e.g., Boldstar Technical, LLC

 v. The Home Depot, Inc., 517 F. Supp. 2d 1283, 1291 (S.D. Fla. 2007) (noting that the “purpose

 of the Rule is ‘to strike at unintelligibility’”); see also Gombos v. Cent. Mortg. Co., No. 10-81296-

 CIV-MARRA/JOHNSON, 2011 U.S. Dist. LEXIS 21413, at *5 (S.D. Fla. Mar. 3, 2011) (finding

 “a pleading is insufficient if a defendant does not know the basic facts that constitute the claim for

 relief against it. Such detail should not be left to discovery, for the purpose of discovery is to find

 out additional facts about a well-pleaded claim, not to find out whether such a claim exists.”)

 (internal citations omitted). Accordingly, should the Court decline to dismiss the Complaint, in

 the alternative, Defendant requests the entry of an order requiring Plaintiff to provide sufficient

 factual allegations in support of his alleged FLSA overtime claim so that Defendant may respond.

                                           CONCLUSION

        For the foregoing reasons, Defendant, BedaBox LLC d/b/a ShipMonk, respectfully

 requests that the Court dismiss Plaintiff’s Complaint in its entirety, or, in the alternative, order

 Plaintiff to provide a more definite statement of his claim.




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          Dated: February 2, 2023               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 2nd day of February 2023, I electronically filed the foregoing

 document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

 being served this day on all counsel of record identified on the attached Service List via

 transmission of Notices of Electronic Filing generated by CM/ECF.

                                                s/ Jennifer A. Schwartz
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